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                      IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION

IN RE:                                       §
                                             §
Jason Wright Petree fdba Cole Park           §      CASE NO. 22-30034
   Properties LLC                            §
         Debtor(s)                           §      Chapter 7

    NOTICE OF APPEARANCE OF COUNSEL AND REQUEST FOR SERVICE OF
                              PAPERS

Now comes PERDUE, BRANDON, FIELDER, COLLINS & MOTT, LLP and files this its

appearance as counsel of record for       QUITMAN INDEPENDENT SCHOOL DISTRICT

and does state that it is authorized by contract with the claimant to make this appearance on its

behalf. Please take notice that pursuant to § 1109(b) of the United States Bankruptcy Code,

Rules 2002 and 9010(b) of the Bankruptcy Rules, and relevant local rules, the claimant

respectfully requests that all notices, pleadings, proposed orders, and confirmed copies of orders

given or required to be given in these proceedings be directed to counsel at the following

address:

                                     Quitman Independent School District
                                     Perdue Brandon Fielder Collins & Mott, LLP
                                     PO Box 2007
                                     Tyler, TX 75710-2007
                                     mthomas@pbfcm.com & tylbkc@pbfcm.com

Please take further notice that pursuant to § 1109(b) of the United States Bankruptcy Code, if

applicable, the foregoing request includes the notices and papers referred to in Rule 2002 of the

Bankruptcy Rules and also includes, without limitation, any plan of reorganization and

objections thereto, notices of any orders, pleading, motions, applications, complaints, demands,

hearings, requests or petitions, disclosure statements, answering or reply papers, memoranda and

briefs in support of any of the foregoing and any other document brought before this Court with



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respect to these proceedings, whether formal or informal, whether written or oral, and whether

transmitted or conveyed by mail, delivery, telephone, telegraph, telex or otherwise.

                                             Respectfully Submitted,

                                             PERDUE BRANDON FIELDER COLLINS &
                                             MOTT, LLP
                                             Attorneys for Claimant/s

                                             By: /s/ Meme L. Thomas
                                                MEME L. THOMAS
                                                SBN: 24088440
                                                PO Box 2007
                                                Tyler, TX 75710-2007
                                                (903) 597-7664 FAX (903) 597-6298
                                                mthomas@pbfcm.com & tylbkc@pbfcm.com

                                  CERTIFICATE OF SERVICE

I do hereby certify that a true and correct copy of the foregoing has been sent to the parties
listed below by the method indicated on this the 14th day of January, 2022.

                                             By: /s/ Meme L. Thomas
                                                MEME L. THOMAS
                                                SBN: 24088440

BY FIRST-CLASS MAIL
Debtor/s: Jason Wright Petree, 4202 Normandy Ave, Dallas, TX 75205

BY ELECTRONIC SERVICE
Attorney for Debtor/s: Christopher Marvin Lee, Lee Law Firm, PLLC, 8701 Bedford Euless
       Road Suite 510, Hurst, TX 76053 EMAIL: ecf@leebankruptcy.com
Trustee: Robert Yaquinto, Jr., 509 N. Montclair, Dallas, TX 75208
       EMAIL: ryaquinto@syllp.com
U.S. Trustee: United States Trustee, 1100 Commerce Street Room 976, Dallas, TX 75202
       EMAIL: ustpregion06.da.ecf@usdoj.gov
And to all other parties accepting electronic service through CM/ECF.




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